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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN


   FMIO, INC., a Michigan corporation and      )
   RICHARD A. GARST,                           )
                                               )
                        Plaintiffs,            ) Case No. 2:09-cv-12561
                                               )
                 v.                            ) HONORABLE BERNARD A. FRIEDMAN
                                               )
   TOWNSHIP OF SUMMERFIELD, MICHIGAN, )
   a Michigan municipal corporation, KEVIN R. )
   IOTT in his official and individual         )
   capacities, TAMMY BLEASKA, in her official )
   and individual capacities, JOAN             )
   WIEDERHOLD, in her official and individual )
   capacities, DALE WAGENKNECHT, in his )
   official and individual capacities,         )
   JAMES V. SEEGERT, in his official and       )
   individual capacities, AMY REITER, in her )
   official and individual capacities, RICHARD )
   KORALESKI, in his official and individual )
   capacities, DAVID GRUDE, in his official    )
   and individual capacities, JOSEPH           )
   STRANGER, in his official and individual    )
   capacities, LINDA DIESING, in her official )
   and individual capacities, and MICHAEL      )
   STRAHAN, in his official and individual     )
   capacities, jointly and severally,          )
                                               )
                        Defendants.            )
   ________________________________________________________________

                      PLAINTIFFS' FINAL WITNESS LIST
         Plaintiffs FMIO, Inc. and Richard A. Garst, by and through their counsel,

   The Victor Firm, PLLC, hereby submit their witness list:

                Tammy Bleaska

                Robert Bucko

                Mic Burnes
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              Conly K. Crossley

              Paul DeLisle

              Linda Diesing

              Richard Donaldson

              Everett Eckerd, Sr.

              Rita Evans

              Peter Fales

              Darren Foote

              Dorothy M. Garst

              Richard A. Garst

              David Grude

              Vern Guindon

              John Gundphi

              Howard Hunter

              Kevin R. Iott

              Michael Kahaian (expert witness)

              Howard Keinath

              Detective Alison D. King (Michigan State Police)

              Richard Koraleski

              David Kottke

              Jack Lange

              Bruce LaRocca

              Mark LaRocca




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                  Randy LaRocca

                  Dave LaRocco

                  Alfred Latizio, FBI Agent

                  Nick Lucas

                  Zelda Lucas

                  Detective David Meyers

                  Michael Mihalec

                  Pat Pirolli

                  Sonny Pirolli

                  Ted Pirolli

                  Amy Reiter

                  Henry Riberas (expert witness)

                  James V. Seegert

                  Mary Lou Smith

                  Mark Strahan

                  Joseph Stranger

                  Dale Wagenknecht

                  Joan Wiederhold

                  Martin Wiederhold

                  Michael Wolfert

                  Any and all witnesses whose identity is revealed during the course

   of discovery

                  Any and all rebuttal witnesses deemed necessary




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                Any and all witnesses listed by defendants on any witness list

                Plaintiffs reserve the right to amend this Witness List as provided

   by this Court and the Federal Rules of Civil Procedure.




                                            /s/ Cindy Rhodes Victor___________
                                            CINDY RHODES VICTOR (P33613)
                                            The Victor Firm, PLLC
                                            Suite 327
                                            3250 West Big Beaver Road
                                            Troy, Michigan 48084
                                            (586) 274-9600
                                            cvictor@victorfirm.com

                                            Attorneys for Plaintiffs
   Dated: March 1, 2010                     FMIO, Inc. and Richard A. Garst




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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN


   FMIO, INC., a Michigan corporation and      )
   RICHARD A. GARST,                           )
                                               )
                        Plaintiffs,            ) Case No. 2:09-cv-12561
                                               )
                 v.                            ) HONORABLE BERNARD A. FRIEDMAN
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   and individual capacities, JOAN             )
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   capacities, DALE WAGENKNECHT, in his )
   official and individual capacities,         )
   JAMES V. SEEGERT, in his official and       )
   individual capacities, AMY REITER, in her )
   official and individual capacities, RICHARD )
   KORALESKI, in his official and individual )
   capacities, DAVID GRUDE, in his official    )
   and individual capacities, JOSEPH           )
   STRANGER, in his official and individual    )
   capacities, LINDA DIESING, in her official )
   and individual capacities, and MICHAEL      )
   STRAHAN, in his official and individual     )
   capacities, jointly and severally,          )
                                               )
                        Defendants.            )
   ________________________________________________________________

                              CERTIFICATE OF SERVICE

          I hereby certify that on the 1st day of March, 2010, I caused Plaintiffs'

   Final Witness List and this Certificate of Service to be sent to the attorneys

   of record via the Court’s electronic court filing (ECF) system.
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                                      ___/s/Steven R. McCollum__________
                                      STEVEN R. McCOLLUM
                                      The Victor Firm, PLLC
                                      Suite 327
                                      3250 West Big Beaver Road
                                      Troy, Michigan 48084
                                      (586) 274-9600
                                      mccollum@victorfirm.com

   Dated: March 1, 2010




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